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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBBocK DlvlsloN
UNITED srArEs or AMERICA )
)
v. ) No. 5118-€11-059-01-<:
) ECF
DERRICK ALAN rHoMAs )
M

The probation officer shall complete and disclose the presentence report Within forty-five
(45) Working days of the date of this order.

If restitution is applicable pursuant to 18 U.S.C. §§ 3663 and 64, counsel for the
Government shall provide to the probation officer, no later than five (5) days from the date of
this order, all information necessary for the officer to comply With crime victims restitution
requirements

SO ORDERED.

/
naer July O7J ,2018.

  

 

Q,.STATE D{S RICT JUDGE

 
  

 

